Case 1:03-cV-01234-.]DB-tmp Document 31 Filed 04/22/05 Page 1 of 4 Page|D 56

 

UNITED s'rATEs DISTRICT coURT /hn/m '
WESTERN DISTRICT OF TENNESSEE 1_,__ 111 ,,_,, 1111 1
EASTERN DIVISION `
._1L\1 1'1- §_
t,U “:` m:ST;:RJLl
JAMES KlTTINGER, ) wm ~'5 TN M M ’
)
Plaintiff, )
)
vs. ) Civil Action No.: 1:03-1234- B/P
)
CORRECTIONS CoRPoRATIoN )
OF AMERICA, et al., )
)
Defendants. )
0RDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Cornpel is extended up to and including June 10, 2005.

 

 

IT IS SO ORDERED.
P€a~
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JUDGE
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DATED: Lf ! 217-j 03
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APPROVED FOR ENTRY:

when

AMES I. PENTECOST

       

 

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Rjtchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gastoo Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on
April 14, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:03-CV-01234 Was distributed by faX, mail, or direct printing on
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sssEE

 

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Honorable J. Breen
US DISTRICT COURT

